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  Fill in this information to identify your case and this filing:
  Debtor 1               Jose                        Antonio              Ayala Torres
                         First Name                  Middle Name          Last Name

  Debtor 2            Larissa                                             Rivera
  (Spouse, if filing) First Name                     Middle Name          Last Name


  United States Bankruptcy Court for the: NORTHERN DISTRICT OF TEXAS

  Case number            19-60085-7                                                                                                 Check if this is an
  (if known)
                                                                                                                                    amended filing



Official Form 106A/B
Schedule A/B: Property                                                                                                                                        12/15

In each category, separately list and describe items. List an asset only once. If an asset fits in more than one category, list
the asset in the category where you think it fits best. Be as complete and accurate as possible. If two married people are
filing together, both are equally responsible for supplying correct information. If more space is needed, attach a separate
sheet to this form. On the top of any additional pages, write your name and case number (if known). Answer every question.


  Part 1:          Describe Each Residence, Building, Land, or Other Real Estate You Own or Have an Interest In

1.     Do you own or have any legal or equitable interest in any residence, building, land, or similar property?
            No. Go to Part 2.
            Yes. Where is the property?

1.1.                                                       What is the property?                             Do not deduct secured claims or exemptions. Put the
6117 Sammye Ln.                                            Check all that apply.                             amount of any secured claims on Schedule D:
Street address, if available, or other description             Single-family home                            Creditors Who Have Claims Secured by Property.
                                                               Duplex or multi-unit building                 Current value of the             Current value of the
                                                               Condominium or cooperative                    entire property?                 portion you own?
San Angelo                       TX       76904                Manufactured or mobile home                               $400,000.00                  $400,000.00
City                             State    ZIP Code             Land
                                                               Investment property                           Describe the nature of your ownership
                                                               Timeshare                                     interest (such as fee simple, tenancy by the
                                                               Other                                         entireties, or a life estate), if known.
County
                                                                                                             Homestead
                                                           Who has an interest in the property?
Legal Description: Lot 7, Sec 2, Block
                                                           Check one.
2, Saddle Subdivision, City of San
                                                               Debtor 1 only                                      Check if this is community property
Angelo, County of Tom Green, State of
                                                               Debtor 2 only                                      (see instructions)
Texas
                                                               Debtor 1 and Debtor 2 only
                                                               At least one of the debtors and another

                                                           Other information you wish to add about this item, such as local
                                                           property identification number:

2.     Add the dollar value of the portion you own for all of your entries from Part 1, including any
       entries for pages you have attached for Part 1. Write that number here.............................................................            $400,000.00


  Part 2:          Describe Your Vehicles

Do you own, lease, or have legal or equitable interest in any vehicles, whether they are registered or not? Include any vehicles
you own that someone else drives. If you lease a vehicle, also report it on Schedule G: Executory Contracts and Unexpired Leases.


3.     Cars, vans, trucks, tractors, sport utility vehicles, motorcycles

           No
           Yes




Official Form 106A/B                                                   Schedule A/B: Property                                                                 page 1
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Debtor 1         Jose Antonio Ayala Torres
Debtor 2         Larissa Rivera                                                                      Case number (if known)         19-60085-7

3.1.                                                   Who has an interest in the property?                Do not deduct secured claims or exemptions. Put the
Make:                      Ford                        Check one.                                          amount of any secured claims on Schedule D:
                                                            Debtor 1 only                                  Creditors Who Have Claims Secured by Property.
Model:                     F-150
                                                            Debtor 2 only                           Current value of the                    Current value of the
Year:                      2019
                                                            Debtor 1 and Debtor 2 only              entire property?                        portion you own?
Approximate mileage: 11,000                                 At least one of the debtors and another            $45,000.00                            $45,000.00
Other information:
2019 Ford F-150 (approx. 11,000                             Check if this is community property
miles)                                                      (see instructions)
4.   Watercraft, aircraft, motor homes, ATVs and other recreational vehicles, other vehicles, and accessories
     Examples: Boats, trailers, motors, personal watercraft, fishing vessels, snowmobiles, motorcycle accessories
           No
           Yes

5.   Add the dollar value of the portion you own for all of your entries from Part 2, including any
     entries for pages you have attached for Part 2. Write that number here.............................................................             $45,000.00


 Part 3:          Describe Your Personal and Household Items
                                                                                                                                            Current value of the
Do you own or have any legal or equitable interest in any of the following items?
                                                                                                                                            portion you own?
                                                                                                                                            Do not deduct secured
                                                                                                                                            claims or exemptions.

6.   Household goods and furnishings
     Examples: Major appliances, furniture, linens, china, kitchenware
           No
           Yes. Describe............
                               Normal Household Goods                                                                                                  $5,500.00

7.   Electronics
     Examples: Televisions and radios; audio, video, stereo, and digital equipment; computers, printers, scanners;
                music collections; electronic devices including cell phones, cameras, media players, games
           No
           Yes. Describe............
                               Normal Household Electronics                                                                                            $1,000.00

8.   Collectibles of value
     Examples: Antiques and figurines; paintings, prints, or other artwork; books, pictures, or other art objects;
                stamp, coin, or baseball card collections; other collections, memorabilia, collectibles
           No
           Yes. Describe............

9.   Equipment for sports and hobbies
     Examples: Sports, photographic, exercise, and other hobby equipment; bicycles, pool tables, golf clubs, skis;
               canoes and kayaks; carpentry tools; musical instruments
           No
           Yes. Describe............
                               4 Bikes, Softball Misc., Eliptical Machine                                                                                $300.00

10. Firearms
    Examples: Pistols, rifles, shotguns, ammunition, and related equipment
           No
           Yes. Describe............
                               S&W 40Cal. Pistol                                                                                                         $400.00

11. Clothes
    Examples: Everyday clothes, furs, leather coats, designer wear, shoes, accessories
           No
           Yes. Describe............
                               Normal Wearing Apparel (Family of 4)                                                                                      $800.00




Official Form 106A/B                                                 Schedule A/B: Property                                                                 page 2
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Debtor 1          Jose Antonio Ayala Torres
Debtor 2          Larissa Rivera                                                                                                     Case number (if known)                  19-60085-7

12. Jewelry
    Examples: Everyday jewelry, costume jewelry, engagement rings, wedding rings, heirloom jewelry, watches, gems,
              gold, silver
            No
            Yes. Describe............
                                $2000.00 - Woman's Wedding Ring                                                                                                                                          $3,050.00
                                         $150.00            - Man's Wedding Ring
                                         $300.00            - 2 Smart Watches
                                         $400.00            - 2 Men's Watches
                                         $200.00            - Woman's Misc. Costume Jewelry
13. Non-farm animals
    Examples: Dogs, cats, birds, horses
            No
            Yes. Describe............
                                1 Dog                                                                                                                                                                            $0.01

14. Any other personal and household items you did not already list, including any health aids you
    did not list
            No
            Yes. Give specific
            information......................

15. Add the dollar value of all of your entries from Part 3, including any entries for pages you have
    attached for Part 3. Write the number here.......................................................................................................................                                  $11,050.01


  Part 4:            Describe Your Financial Assets
                                                                                                                                                                                        Current value of the
Do you own or have any legal or equitable interest in any of the following?
                                                                                                                                                                                        portion you own?
                                                                                                                                                                                        Do not deduct secured
                                                                                                                                                                                        claims or exemptions.

16. Cash
    Examples: Money you have in your wallet, in your home, in a safe deposit box, and on hand when you file your
              petition
            No
            Yes.....................................................................................................................................................................................................
                                                                                                                                                     Cash: ...........................................               $50.00

17. Deposits of money
    Examples: Checking, savings, or other financial accounts; certificates of deposit; shares in credit unions,
              brokerage houses, and other similar institutions. If you have multiple accounts with the same
              institution, list each.

            No
            Yes..............................                   Institution name:

             17.1.        Checking account:                     Checking account at Wells Fargo                                                                                                        $19,000.00
             17.2.        Savings account:                      Savings account at Wells Fargo                                                                                                               $162.00
18. Bonds, mutual funds, or publicly traded stocks
    Examples: Bond funds, investment accounts with brokerage firms, money market accounts
            No
            Yes.............................. Institution or issuer name:




Official Form 106A/B                                                                       Schedule A/B: Property                                                                                                  page 3
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Debtor 1         Jose Antonio Ayala Torres
Debtor 2         Larissa Rivera                                                                    Case number (if known)     19-60085-7

19. Non-publicly traded stock and interests in incorporated and unincorporated businesses, including
    an interest in an LLC, partnership, and joint venture
           No
           Yes. Give specific
           information about
           them...............................................
                                              Name of entity:                                                   % of ownership:
20. Government and corporate bonds and other negotiable and non-negotiable instruments
    Negotiable instruments include personal checks, cashiers' checks, promissory notes, and money orders.
    Non-negotiable instruments are those you cannot transfer to someone by signing or delivering them.
           No
           Yes. Give specific
           information about
           them...............................................
                                              Issuer name:
21. Retirement or pension accounts
    Examples: Interests in IRA, ERISA, Keogh, 401(k), 403(b), thrift savings accounts, or other pension or
              profit-sharing plans
           No
           Yes. List each
           account separately.             Type of account:         Institution name:
                                           Retirement account:      Retirement account through YMCA                                                $2,000.00
                                           Retirement account:      Retirement account Through VA                                                 $71,355.05
22. Security deposits and prepayments
    Your share of all unused deposits you have made so that you may continue service or use from a company
    Examples: Agreements with landlords, prepaid rent, public utilities (electric, gas, water), telecommunications
    companies, or others

           No
           Yes..............................                     Institution name or individual:
23. Annuities (A contract for a specific periodic payment of money to you, either for life or for a number of years)
       No
       Yes.............................. Issuer name and description:
24. Interests in an education IRA, in an account in a qualified ABLE program, or under a qualified state tuition program.
    26 U.S.C. §§ 530(b)(1), 529A(b), and 529(b)(1).
           No
           Yes.............................. Institution name and description. Separately file the records of any interests. 11 U.S.C. § 521(c)
25. Trusts, equitable or future interests in property (other than anything listed in line 1), and rights or
    powers exercisable for your benefit
           No
           Yes. Give specific
           information about them

26. Patents, copyrights, trademarks, trade secrets, and other intellectual property;
    Examples: Internet domain names, websites, proceeds from royalties and licensing agreements
           No
           Yes. Give specific
           information about them

27. Licenses, franchises, and other general intangibles
    Examples: Building permits, exclusive licenses, cooperative association holdings, liquor licenses, professional licenses
           No
           Yes. Give specific
           information about them




Official Form 106A/B                                                      Schedule A/B: Property                                                       page 4
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Debtor 1        Jose Antonio Ayala Torres
Debtor 2        Larissa Rivera                                                              Case number (if known)     19-60085-7

Money or property owed to you?                                                                                                  Current value of the
                                                                                                                                portion you own?
                                                                                                                                Do not deduct secured
                                                                                                                                claims or exemptions.

28. Tax refunds owed to you

           No
           Yes. Give specific information Federal: Possible Tax Refund for 2019. Amt: $4,500.00                      Federal:             $4,500.00
           about them, including whether
           you already filed the returns                                                                             State:                    $0.00
           and the tax years.....................................
                                                                                                                     Local:                    $0.00

29. Family support
    Examples: Past due or lump sum alimony, spousal support, child support, maintenance, divorce settlement, property settlement
           No
           Yes. Give specific information                                                                 Alimony:

                                                                                                          Maintenance:

                                                                                                          Support:

                                                                                                          Divorce settlement:

                                                                                                          Property settlement:

30. Other amounts someone owes you
    Examples: Unpaid wages, disability insurance payments, disability benefits, sick pay, vacation pay, workers'
              compensation, Social Security benefits; unpaid loans you made to someone else
           No
           Yes. Give specific information

31. Interests in insurance policies
    Examples: Health, disability, or life insurance; health savings account (HSA); credit, homeowner's, or renter's insurance
           No
           Yes. Name the insurance
           company of each policy
           and list its value................   Company name:                            Beneficiary:                     Surrender or refund value:

                                                2 Term Policies, 1 through
                                                Primeamerica, 1 through Midland
                                                Life Ins.= No C.S.V.                                                                           $0.00
32. Any interest in property that is due you from someone who has died
    If you are the beneficiary of a living trust, expect proceeds from a life insurance policy, or are currently
    entitled to receive property because someone has died
           No
           Yes. Give specific information

33. Claims against third parties, whether or not you have filed a lawsuit or made a demand for payment
    Examples: Accidents, employment disputes, insurance claims, or rights to sue
           No
           Yes. Describe each claim..............

34. Other contingent and unliquidated claims of every nature, including counterclaims of the debtor and
    rights to set off claims
           No
           Yes. Describe each claim..............

35. Any financial assets you did not already list

           No
           Yes. Give specific information


Official Form 106A/B                                             Schedule A/B: Property                                                         page 5
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Debtor 1         Jose Antonio Ayala Torres
Debtor 2         Larissa Rivera                                                                                      Case number (if known)             19-60085-7

36. Add the dollar value of all of your entries from Part 4, including any entries for pages you have
    attached for Part 4. Write that number here.......................................................................................................................    $97,067.05


  Part 5: Describe Any Business-Related Property You Own or Have an Interest In. List any real estate in Part 1.

37. Do you own or have any legal or equitable interest in any business-related property?

            No. Go to Part 6.
            Yes. Go to line 38.

                                                                                                                                                                 Current value of the
                                                                                                                                                                 portion you own?
                                                                                                                                                                 Do not deduct secured
                                                                                                                                                                 claims or exemptions.
38. Accounts receivable or commissions you already earned

            No
            Yes. Describe................

39. Office equipment, furnishings, and supplies
    Examples: Business-related computers, software, modems, printers, copiers, fax machines, rugs, telephones,
               desks, chairs, electronic devices
            No
            Yes. Describe................

40. Machinery, fixtures, equipment, supplies you use in business, and tools of your trade

            No
            Yes. Describe................

41. Inventory

            No
            Yes. Describe................

42. Interests in partnerships or joint ventures

            No
            Yes. Describe................
                                Name of entity:                                                                                       % of ownership:

43. Customer lists, mailing lists, or other compilations

            No
            Yes. Do your lists include personally identifiable information (as defined in 11 U.S.C. § 101(41A))?
                    No
                    Yes. Describe..............

44. Any business-related property you did not already list

            No
            Yes. Give specific information.

45. Add the dollar value of all of your entries from Part 5, including any entries for pages you have
    attached for Part 5. Write that number here.......................................................................................................................          $0.00


  Part 6: Describe Any Farm- and Commercial Fishing-Related Property You Own or Have an Interest In.
                If you own or have an interest in farmland, list it in Part 1.

46. Do you own or have any legal or equitable interest in any farm- or commercial fishing-related property?

            No. Go to Part 7.
            Yes. Go to line 47.




Official Form 106A/B                                                            Schedule A/B: Property                                                                           page 6
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Debtor 1          Jose Antonio Ayala Torres
Debtor 2          Larissa Rivera                                                                                     Case number (if known)             19-60085-7

                                                                                                                                                                 Current value of the
                                                                                                                                                                 portion you own?
                                                                                                                                                                 Do not deduct secured
                                                                                                                                                                 claims or exemptions.
47. Farm animals
    Examples: Livestock, poultry, farm-raised fish
            No
            Yes............................

48. Crops--either growing or harvested

            No
            Yes. Give specific
            information..........................

49. Farm and fishing equipment, implements, machinery, fixtures, and tools of trade

            No
            Yes..............................

50. Farm and fishing supplies, chemicals, and feed

            No
            Yes..............................

51. Any farm- and commercial fishing-related property you did not already list

            No
            Yes. Give specific
            information..........................

52. Add the dollar value of all of your entries from Part 6, including any entries for pages you have
    attached for Part 6. Write that number here.......................................................................................................................          $0.00


  Part 7: Describe All Property You Own or Have an Interest in That You Did Not List Above

53. Do you have other property of any kind you did not already list?
    Examples: Season tickets, country club membership

            No
            Yes. Give specific information.


54. Add the dollar value of all of your entries from Part 7. Write that number here.................................................                                            $0.00




Official Form 106A/B                                                            Schedule A/B: Property                                                                           page 7
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Debtor 1           Jose Antonio Ayala Torres
Debtor 2           Larissa Rivera                                                                                             Case number (if known)                19-60085-7


  Part 8: List the Totals of Each Part of this Form

55. Part 1: Total real estate, line 2..............................................................................................................................................   $400,000.00

56. Part 2: Total vehicles, line 5                                                                                  $45,000.00

57. Part 3: Total personal and household items, line 15                                                             $11,050.01

58. Part 4: Total financial assets, line 36                                                                         $97,067.05

59. Part 5: Total business-related property, line 45                                                                         $0.00

60. Part 6: Total farm- and fishing-related property, line 52                                                                $0.00

61. Part 7: Total other property not listed, line 54                                               +                         $0.00

                                                                                                                                            Copy personal
62. Total personal property.                   Add lines 56 through 61.................................           $153,117.06               property total                 +          $153,117.06



63. Total of all property on Schedule A/B.                                                                                                                                                  $553,117.06
                                                                    Add line 55 + line 62.......................................................................................................




Official Form 106A/B                                                                  Schedule A/B: Property                                                                                   page 8
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 Fill in this information to identify your case:
 Debtor 1            Jose                 Antonio                Ayala Torres
                     First Name           Middle Name            Last Name
 Debtor 2            Larissa                                     Rivera
 (Spouse, if filing) First Name           Middle Name            Last Name

 United States Bankruptcy Court for the: NORTHERN DISTRICT OF TEXAS
                                                                                                                     Check if this is an
 Case number         19-60085-7                                                                                      amended filing
 (if known)

Official Form 106C
Schedule C: The Property You Claim as Exempt                                                                                                04/19

Be as complete and accurate as possible. If two married people are filing together, both are equally responsible for supplying correct information.
Using the property you listed on Schedule A/B: Property (Official Form 106A/B) as your source, list the property that you claim as exempt. If more
space is needed, fill out and attach to this page as many copies of Part 2: Additional Page as necessary. On the top of any additional pages,
write your name and case number (if known).

For each item of property you claim as exempt, you must specify the amount of the exemption you claim. One way of doing so
is to state a specific dollar amount as exempt. Alternatively, you may claim the full fair market value of the property being
exempted up to the amount of any applicable statutory limit. Some exemptions--such as those for health aids, rights to
receive certain benefits, and tax-exempt retirement funds--may be unlimited in dollar amount. However, if you claim an
exemption of 100% of fair market value under a law that limits the exemption to a particular dollar amount and the value of the
property is determined to exceed that amount, your exemption would be limited to the applicable statutory amount.


 Part 1:        Identify the Property You Claim as Exempt

1.   Which set of exemptions are you claiming?             Check one only, even if your spouse is filing with you.
          You are claiming state and federal nonbankruptcy exemptions. 11 U.S.C. § 522(b)(3)
          You are claiming federal exemptions. 11 U.S.C. § 522(b)(2)

2.   For any property you list on Schedule A/B that you claim as exempt, fill in the information below.

Brief description of the property and line on           Current value of     Amount of the                Specific laws that allow exemption
Schedule A/B that lists this property                   the portion you      exemption you claim
                                                        own
                                                        Copy the value from Check only one box for
                                                        Schedule A/B        each exemption


Brief description:                                        $400,000.00                 $11,266.00          11 U.S.C. § 522(d)(1)
6117 Sammye Ln.                                                                   100% of fair market
Legal Description: Lot 7, Sec 2, Block 2,                                         value, up to any
Saddle Subdivision, City of San Angelo,                                           applicable statutory
County of Tom Green, State of Texas                                               limit
Line from Schedule A/B: 1.1

Brief description:                                         $45,000.00                     $0.00           11 U.S.C. § 522(d)(2)
2019 Ford F-150 (approx. 11,000 miles)                                            100% of fair market
                                                                                  value, up to any
Line from Schedule A/B:      3.1
                                                                                  applicable statutory
                                                                                  limit




3.   Are you claiming a homestead exemption of more than $170,350?
     (Subject to adjustment on 4/01/22 and every 3 years after that for cases filed on or after the date of adjustment.)

          No
          Yes. Did you acquire the property covered by the exemption within 1,215 days before you filed this case?
              No
              Yes

Official Form 106C                               Schedule C: The Property You Claim as Exempt                                               page 1
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Debtor 1      Jose Antonio Ayala Torres
Debtor 2      Larissa Rivera                                                         Case number (if known)   19-60085-7

 Part 2:        Additional Page
Brief description of the property and line on       Current value of    Amount of the               Specific laws that allow exemption
Schedule A/B that lists this property               the portion you     exemption you claim
                                                    own
                                                    Copy the value from Check only one box for
                                                    Schedule A/B        each exemption

Brief description:                                      $5,500.00                $5,500.00          11 U.S.C. § 522(d)(3)
Normal Household Goods                                                       100% of fair market
                                                                             value, up to any
Line from Schedule A/B:     6
                                                                             applicable statutory
                                                                             limit

Brief description:                                      $1,000.00                $1,000.00          11 U.S.C. § 522(d)(3)
Normal Household Electronics                                                 100% of fair market
                                                                             value, up to any
Line from Schedule A/B:     7
                                                                             applicable statutory
                                                                             limit

Brief description:                                       $300.00                  $300.00           11 U.S.C. § 522(d)(5)
4 Bikes, Softball Misc., Eliptical Machine                                   100% of fair market
                                                                             value, up to any
Line from Schedule A/B:     9
                                                                             applicable statutory
                                                                             limit

Brief description:                                       $400.00                  $400.00           11 U.S.C. § 522(d)(5)
S&W 40Cal. Pistol                                                            100% of fair market
                                                                             value, up to any
Line from Schedule A/B:    10
                                                                             applicable statutory
                                                                             limit

Brief description:                                       $800.00                  $800.00           11 U.S.C. § 522(d)(3)
Normal Wearing Apparel (Family of 4)                                         100% of fair market
                                                                             value, up to any
Line from Schedule A/B:    11
                                                                             applicable statutory
                                                                             limit

Brief description:                                      $3,050.00                $3,050.00          11 U.S.C. § 522(d)(4)
$2000.00     - Woman's Wedding Ring                                          100% of fair market
$150.00      - Man's Wedding Ring                                            value, up to any
$300.00      - 2 Smart Watches                                               applicable statutory
$400.00      - 2 Men's Watches                                               limit
$200.00      - Woman's Misc. Costume
Jewelry
Line from Schedule A/B:    12

Brief description:                                        $0.01                     $0.01           11 U.S.C. § 522(d)(5)
1 Dog                                                                        100% of fair market
                                                                             value, up to any
Line from Schedule A/B:    13
                                                                             applicable statutory
                                                                             limit

Brief description:                                       $50.00                    $50.00           11 U.S.C. § 522(d)(5)
Normal Cash on Hand                                                          100% of fair market
                                                                             value, up to any
Line from Schedule A/B:    16
                                                                             applicable statutory
                                                                             limit




Official Form 106C                              Schedule C: The Property You Claim as Exempt                                         page 2
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Debtor 1      Jose Antonio Ayala Torres
Debtor 2      Larissa Rivera                                                         Case number (if known)   19-60085-7

 Part 2:        Additional Page
Brief description of the property and line on       Current value of    Amount of the               Specific laws that allow exemption
Schedule A/B that lists this property               the portion you     exemption you claim
                                                    own
                                                    Copy the value from Check only one box for
                                                    Schedule A/B        each exemption

Brief description:                                     $19,000.00               $19,000.00          11 U.S.C. § 522(d)(5)
Checking account at Wells Fargo                                              100% of fair market
                                                                             value, up to any
Line from Schedule A/B:   17.1
                                                                             applicable statutory
                                                                             limit

Brief description:                                       $162.00                  $162.00           11 U.S.C. § 522(d)(5)
Savings account at Wells Fargo                                               100% of fair market
                                                                             value, up to any
Line from Schedule A/B:   17.2
                                                                             applicable statutory
                                                                             limit

Brief description:                                      $2,000.00                $2,000.00          11 U.S.C. § 522(d)(10)(E)
Retirement account through YMCA                                              100% of fair market
                                                                             value, up to any
Line from Schedule A/B:    21
                                                                             applicable statutory
                                                                             limit

Brief description:                                     $71,355.05               $71,355.05          11 U.S.C. § 522(d)(10)(E)
Retirement account Through VA                                                100% of fair market
                                                                             value, up to any
Line from Schedule A/B:    21
                                                                             applicable statutory
                                                                             limit

Brief description:                                      $4,500.00                $4,500.00          11 U.S.C. § 522(d)(5)
Possible Tax Refund for 2019                                                 100% of fair market
                                                                             value, up to any
Line from Schedule A/B:    28
                                                                             applicable statutory
                                                                             limit

Brief description:                                        $0.00                     $0.00           11 U.S.C. § 522(d)(10)(E)
2 Term Policies, 1 through Primeamerica,                                     100% of fair market
1 through Midland Life Ins.= No C.S.V.                                       value, up to any
Line from Schedule A/B: 31                                                   applicable statutory
                                                                             limit




Official Form 106C                              Schedule C: The Property You Claim as Exempt                                         page 3
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 Fill in this information to identify your case:
 Debtor 1             Jose                  Antonio                Ayala Torres
                      First Name            Middle Name            Last Name

 Debtor 2            Larissa                                       Rivera
 (Spouse, if filing) First Name             Middle Name            Last Name


 United States Bankruptcy Court for the: NORTHERN DISTRICT OF TEXAS

 Case number          19-60085-7                                                                                      Check if this is an
 (if known)
                                                                                                                      amended filing

Official Form 106G
Schedule G: Executory Contracts and Unexpired Leases                                                                                               12/15

Be as complete and accurate as possible. If two married people are filing together, both are equally responsible for supplying
correct information. If more space is needed, copy the additional page, fill it out, number the entries, and attach it to this page.
On the top of any additional pages, write your name and case number (if known).


1.     Do you have any executory contracts or unexpired leases?
            No. Check this box and file this form with the court with your other schedules. You have nothing else to report on this form.
            Yes. Fill in all of the information below even if the contracts or leases are listed on Schedule A/B: Property (Official Form 106A/B).

2.     List separately each person or company with whom you have the contract or lease. Then state what each contract or lease
       is for (for example, rent, vehicle lease, cell phone). See the instructions for this form in the instruction booklet for more examples of
       executory contracts and unexpired leases.

          Person or company with whom you have the contract or lease                   State what the contract or lease is for

 2.1      Nissan Motor Acceptance Corp/Infinity Lt                                     Lease a 2017 Infinity Q80 for $1494 Per Month
          Name                                                                         Contract to be ASSUMED
          Attn: Bankruptcy
          Number    Street
          PO Box 660360

          Dallas                                       TX        75266
          City                                         State     ZIP Code




Official Form 106G                            Schedule G: Executory Contracts and Unexpired Leases                                                 page 1
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 Fill in this information to identify your case:
 Debtor 1             Jose                   Antonio                     Ayala Torres
                      First Name             Middle Name                 Last Name

 Debtor 2            Larissa                                             Rivera
 (Spouse, if filing) First Name              Middle Name                 Last Name


 United States Bankruptcy Court for the: NORTHERN DISTRICT OF TEXAS

 Case number          19-60085-7                                                                                        Check if this is an
 (if known)
                                                                                                                        amended filing



Official Form 106H
Schedule H: Your Codebtors                                                                                                                        12/15

Codebtors are people or entities who are also liable for any debts you may have. Be as complete and accurate as possible. If
two married people are filing together, both are equally responsible for supplying correct information. If more space is
needed, copy the Additional Page, fill it out, and number the entries in the boxes on the left. Attach the Additional Page to this
page. On the top of any Additional Pages, write your name and case number (if known). Answer every question.


1.   Do you have any codebtors?          (If you are filing a joint case, do not list either spouse as a codebtor.)
         No
         Yes

2.   Within the last 8 years, have you lived in a community property state or territory? (Community property states and territories
     include Arizona, California, Idaho, Louisiana, Nevada, New Mexico, Puerto Rico, Texas, Washington, and Wisconsin.)
          No. Go to line 3.
          Yes. Did your spouse, former spouse, or legal equivalent live with you at the time?
              No
              Yes
               In which community state or territory did you live?                   Texas     Fill in the name and current address of that person.

               Larissa Rivera
               Name of your spouse, former spouse, or legal equivalent
               6117 Sammye Lane
               Number        Street


               San Angelo                                      TX              76904
               City                                            State           ZIP Code

3.   In Column 1, list all of your codebtors. Do not include your spouse as a codebtor if your spouse is filing with you. List the
     person shown in line 2 again as a codebtor only if that person is a guarantor or cosigner. Make sure you have listed the
     creditor on Schedule D (Official Form 106D), Schedule E/F (Official Form 106E/F), or Schedule G (Official Form 106G). Use
     Schedule D, Schedule E/F, or Schedule G to fill out Column 2.

        Column 1: Your codebtor                                                                 Column 2: The creditor to whom you owe the debt

                                                                                                Check all schedules that apply:




Official Form 106H                                              Schedule H: Your Codebtors                                                            page 1
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 Fill in this information to identify your case:
     Debtor 1              Jose                 Antonio                Ayala Torres
                           First Name           Middle Name            Last Name                           Check if this is:
     Debtor 2              Larissa                                     Rivera                                   An amended filing
     (Spouse, if filing)   First Name           Middle Name            Last Name
                                                                                                                A supplement showing postpetition
     United States Bankruptcy Court for the:   NORTHERN DISTRICT OF TEXAS
                                                                                                                chapter 13 income as of the following date:
     Case number           19-60085-7
     (if known)
                                                                                                                MM / DD / YYYY
Official Form 106I
Schedule I: Your Income                                                                                                                              12/15

Be as complete and accurate as possible. If two married people are filing together (Debtor 1 and Debtor 2), both are equally
responsible for supplying correct information. If you are married and not filing jointly, and your spouse is living with you,
include information about your spouse. If you are separated and your spouse is not filing with you, do not include information
about your spouse. If more space is needed, attach a separate sheet to this form. On the top of any additional pages, write
your name and case number (if known). Answer every question.

 Part 1:          Describe Employment
1.    Fill in your employment
      information.                                             Debtor 1                                           Debtor 2 or non-filing spouse
      If you have more than one
      job, attach a separate page       Employment status             Employed                                           Employed
      with information about                                          Not employed                                       Not employed
      additional employers.
                                        Occupation             Physician                                          Administration at YMCA
      Include part-time, seasonal,
      or self-employed work.            Employer's name        West TX VA                                         YMCA

      Occupation may include            Employer's address     2018 Pulliam St.                                   353 S. Randolph
      student or homemaker, if it                              Number Street                                      Number Street
      applies.




                                                               San Angelo                   TX      76904         San Angelo             TX      76904
                                                               City                         State   Zip Code      City                   State   Zip Code

                                        How long employed there?        7 Years                                           2 Months

 Part 2:          Give Details About Monthly Income
Estimate monthly income as of the date you file this form. If you have nothing to report for any line, write $0 in the space. Include your
non-filing spouse unless you are separated.
If you or your non-filing spouse have more than one employer, combine the information for all employers for that person on the lines below. If
you need more space, attach a separate sheet to this form.

                                                                                            For Debtor 1            For Debtor 2 or
                                                                                                                    non-filing spouse

2.    List monthly gross wages, salary, and commissions (before all             2.               $15,372.41               $2,603.62
      payroll deductions). If not paid monthly, calculate what the monthly wage
      would be.
3.    Estimate and list monthly overtime pay.                                      3.   +              $0.00                   $0.00

4.    Calculate gross income. Add line 2 + line 3.                                 4.            $15,372.41               $2,603.62




Official Form 106I                                            Schedule I: Your Income                                                                page 1
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Debtor 1        Jose Antonio Ayala Torres
Debtor 2        Larissa Rivera                                                                                                  Case number (if known)    19-60085-7
                                                                                                                   For Debtor 1             For Debtor 2 or
                                                                                                                                            non-filing spouse
     Copy line 4 here ...................................................................................................................
                                                                                                                 4.            $15,372.41       $2,603.62
5.   List all payroll deductions:
     5a. Tax, Medicare, and Social Security deductions                                                     5a.           $3,740.21                $353.01
     5b. Mandatory contributions for retirement plans                                                      5b.            $341.88                  $52.06
     5c. Voluntary contributions for retirement plans                                                      5c.               $0.00                  $0.00
     5d. Required repayments of retirement fund loans                                                      5d.           $1,721.94                  $0.00
     5e. Insurance                                                                                         5e.           $1,740.76                  $0.00
     5f. Domestic support obligations                                                                      5f.               $0.00                  $0.00
     5g. Union dues                                                                                        5g.              $43.33                  $0.00
     5h. Other deductions.
          Specify:                                                                                         5h. +                $0.00                $0.00
6.   Add the payroll deductions.                 Add lines 5a + 5b + 5c + 5d + 5e + 5f +                   6.            $7,588.12                $405.07
     5g + 5h.
7.   Calculate total monthly take-home pay.                        Subtract line 6 from line 4.            7.            $7,784.29              $2,198.55
8.   List all other income regularly received:
     8a. Net income from rental property and from operating a                                              8a.            ($950.00)                  $0.00
          business, profession, or farm
           Attach a statement for each property and business showing
           gross receipts, ordinary and necessary business expenses, and
           the total monthly net income.
     8b. Interest and dividends                                                                            8b.                  $0.00                $0.00
     8c. Family support payments that you, a non-filing spouse, or a                                       8c.                  $0.00                $0.00
         dependent regularly receive
           Include alimony, spousal support, child support, maintenance,
           divorce settlement, and property settlement.
     8d. Unemployment compensation                                                                         8d.                  $0.00                $0.00
     8e. Social Security                                                                                   8e.                  $0.00                $0.00
     8f. Other government assistance that you regularly receive
         Include cash assistance and the value (if known) or any non-
         cash assistance that you receive, such as food stamps
         (benefits under the Supplemental Nutrition Assistance Program)
         or housing subsidies.
         Specify:                                                                                          8f.                  $0.00                $0.00
     8g. Pension or retirement income                                                                      8g.                  $0.00                $0.00
     8h. Other monthly income.
         Specify:                                                                                          8h. +                $0.00                $0.00

9.   Add all other income. Add lines 8a + 8b + 8c + 8d + 8e + 8f + 8g + 8h.                                9.             ($950.00)                  $0.00

10. Calculate monthly income. Add line 7 + line 9.                             10.     $6,834.29 +         $2,198.55 =                                                  $9,032.84
    Add the entries in line 10 for Debtor 1 and Debtor 2 or non-filing spouse.
11. State all other regular contributions to the expenses that you list in Schedule J.
    Include contributions from an unmarried partner, members of your household, your dependents, your roommates, and other
    friends or relatives.

     Do not include any amounts already included in lines 2-10 or amounts that are not available to pay expenses listed in Schedule J.

     Specify:                                                                                                                                            11.    +           $0.00

12. Add the amount in the last column of line 10 to the amount in line 11. The result is the combined monthly                                            12.            $9,032.84
    income. Write that amount on the Summary of Your Assets and Liabilities and Certain Statistical Information,
    if it applies.                                                                                                                                                  Combined
                                                                                                                                                                    monthly income
13. Do you expect an increase or decrease within the year after you file this form?
        No.           None.
           Yes. Explain:




Official Form 106I                                                              Schedule I: Your Income                                                                      page 2
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Debtor 1     Jose Antonio Ayala Torres
Debtor 2     Larissa Rivera                                                  Case number (if known)   19-60085-7

8a. Attached Statement (Debtor 1)

                                    License, Continued Education in Puerto Rico, Travel

Gross Monthly Income:                                                                                                 $0.00

Expense                                               Category                              Amount

Travel                                                                                     $500.00
Continued Education                                                                        $300.00
License                                                                                    $150.00
Total Monthly Expenses                                                                                              $950.00
Net Monthly Income:                                                                                                ($950.00)




Official Form 106I                                 Schedule I: Your Income                                            page 3
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 Fill in this information to identify your case:
                                                                                                         Check if this is:
     Debtor 1              Jose                   Antonio                Ayala Torres                        An amended filing
                           First Name             Middle Name            Last Name                           A supplement showing postpetition
                                                                                                             chapter 13 expenses as of the
     Debtor 2              Larissa                                       Rivera
     (Spouse, if filing)   First Name             Middle Name            Last Name                           following date:

     United States Bankruptcy Court for the:    NORTHERN DISTRICT OF TEXAS                                     MM / DD / YYYY
     Case number           19-60085-7
     (if known)

Official Form 106J
Schedule J: Your Expenses                                                                                                                        12/15
Be as complete and accurate as possible. If two married people are filing together, both are equally responsible for supplying
correct information. If more space is needed, attach another sheet to this form. On the top of any additional pages, write your
name and case number (if known). Answer every question.


 Part 1:          Describe Your Household
1.    Is this a joint case?

            No. Go to line 2.
            Yes. Does Debtor 2 live in a separate household?
                     No
                     Yes. Debtor 2 must file Official Form 106J-2, Expenses for Separate Household of Debtor 2.
2.    Do you have dependents?                  No
                                               Yes. Fill out this information          Dependent's relationship to    Dependent's      Does dependent
      Do not list Debtor 1 and                                                         Debtor 1 or Debtor 2           age              live with you?
                                               for each dependent...................................
      Debtor 2.                                                                                                                            No
                                                                                  boy                                 18 Months
                                                                                                                                           Yes
      Do not state the dependents'
                                                                                                                                           No
      names.                                                                      girl                                5 Years
                                                                                                                                           Yes
                                                                                                                                           No
                                                                                                                                           Yes
                                                                                                                                           No
                                                                                                                                           Yes
                                                                                                                                           No
                                                                                                                                           Yes
3.    Do your expenses include                        No
      expenses of people other than                   Yes
      yourself and your dependents?


 Part 2:          Estimate Your Ongoing Monthly Expenses
Estimate your expenses as of your bankruptcy filing date unless you are using this form as a supplement in a Chapter 13 case
to report expenses as of a date after the bankruptcy is filed. If this is a supplemental Schedule J, check the box at the top of
the form and fill in the applicable date.
Include expenses paid for with non-cash government assistance if you know the value of
such assistance and have included it on Schedule I: Your Income (Official Form 106I.)                                      Your expenses

4.    The rental or home ownership expenses for your residence.                                                      4.                    $3,056.26
      Include first mortgage payments and any rent for the ground or lot.
      If not included in line 4:

      4a. Real estate taxes                                                                                          4a.                         $0.00

      4b. Property, homeowner's, or renter's insurance                                                               4b.                         $0.00

      4c. Home maintenance, repair, and upkeep expenses                                                              4c.                    $150.00
      4d. Homeowner's association or condominium dues                                                                4d.                         $0.00




 Official Form 106J                                             Schedule J: Your Expenses                                                        page 1
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Debtor 1      Jose Antonio Ayala Torres
Debtor 2      Larissa Rivera                                                           Case number (if known)   19-60085-7
                                                                                                          Your expenses

5.   Additional mortgage payments for your residence, such as home equity loans                     5.

6.   Utilities:

     6a. Electricity, heat, natural gas                                                             6a.                      $378.00
     6b. Water, sewer, garbage collection                                                           6b.                      $260.00
     6c. Telephone, cell phone, Internet, satellite, and                                            6c.                      $490.00
         cable services
     6d. Other. Specify:      Security                                                              6d.                       $65.00
7.   Food and housekeeping supplies                                                                 7.                       $950.00
8.   Childcare and children's education costs                                                       8.                       $660.00
9.   Clothing, laundry, and dry cleaning                                                            9.                       $240.00
10. Personal care products and services                                                             10.                      $200.00
11. Medical and dental expenses                                                                     11.                      $350.00
12. Transportation. Include gas, maintenance, bus or train                                          12.                      $840.00
    fare. Do not include car payments.
13. Entertainment, clubs, recreation, newspapers,                                                   13.                      $150.00
    magazines, and books
14. Charitable contributions and religious donations                                                14.                      $150.00
15. Insurance.
    Do not include insurance deducted from your pay or included in lines 4 or 20.

     15a.   Life insurance                                                                          15a.                      $40.00
     15b.   Health insurance                                                                        15b.

     15c.   Vehicle insurance                                                                       15c.                     $370.00
     15d.   Other insurance. Specify:                                                               15d.
16. Taxes. Do not include taxes deducted from your pay or included in lines 4 or 20.
    Specify:                                                                                        16.

17. Installment or lease payments:

     17a.   Car payments for Vehicle 1    2018 Ford F-150                                           17a.                     $813.80
     17b.   Car payments for Vehicle 2    2017 Infinity QX80                                        17b.                  $1,494.00
     17c.   Other. Specify:                                                                         17c.

     17d.   Other. Specify:                                                                         17d.

18. Your payments of alimony, maintenance, and support that you did not report as                   18.
    deducted from your pay on line 5, Schedule I, Your Income (Official Form 106I).


19. Other payments you make to support others who do not live with you.
    Specify:                                                                                        19.




 Official Form 106J                                        Schedule J: Your Expenses                                            page 2
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Debtor 1      Jose Antonio Ayala Torres
Debtor 2      Larissa Rivera                                                                   Case number (if known)    19-60085-7
20. Other real property expenses not included in lines 4 or 5 of this form or on
    Schedule I: Your Income.
    20a.    Mortgages on other property                                                                      20a.

    20b.    Real estate taxes                                                                                20b.

    20c.    Property, homeowner's, or renter's insurance                                                     20c.

    20d.    Maintenance, repair, and upkeep expenses                                                         20d.

    20e.    Homeowner's association or condominium dues                                                      20e.

21. Other. Specify: Birthday & X-Mas Gifts & haircut                                                         21.    +                 $150.00
22. Calculate your monthly expenses.

    22a.    Add lines 4 through 21.                                                                          22a.               $10,807.06
    22b.    Copy line 22 (monthly expenses for Debtor 2), if any, from Official Form 106J-2.                 22b.

    22c.    Add line 22a and 22b. The result is your monthly expenses.                                       22c.               $10,807.06

23. Calculate your monthly net income.

    23a.    Copy line 12 (your combined monthly income) from Schedule I.                                     23a.                 $9,032.84
    23b.    Copy your monthly expenses from line 22c above.                                                  23b.   –           $10,807.06
    23c.    Subtract your monthly expenses from your monthly income.
            The result is your monthly net income.                                                           23c.               ($1,774.22)

24. Do you expect an increase or decrease in your expenses within the year after you file this form?

    For example, do you expect to finish paying for your car loan within the year or do you expect your mortgage
    payment to increase or decrease because of a modification to the terms of your mortgage?

           No.
           Yes. Explain here:
                None.




 Official Form 106J                                         Schedule J: Your Expenses                                                    page 3
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 Fill in this information to identify your case:
 Debtor 1                Jose                          Antonio                       Ayala Torres
                         First Name                    Middle Name                   Last Name

 Debtor 2            Larissa                                                         Rivera
 (Spouse, if filing) First Name                        Middle Name                   Last Name


 United States Bankruptcy Court for the: NORTHERN DISTRICT OF TEXAS

 Case number             19-60085-7                                                                                                                       Check if this is an
 (if known)
                                                                                                                                                          amended filing

Official Form 106Sum
Summary of Your Assets and Liabilities and Certain Statistical Information                                                                                                                    12/15

Be as complete and accurate as possible. If two married people are filing together, both are equally responsible for supplying
correct information. Fill out all of your schedules first; then complete the information on this form. If you are filing amended
schedules after you file your original forms, you must fill out a new Summary and check the box at the top of this page.



 Part 1:          Summarize Your Assets

                                                                                                                                                                      Your assets
                                                                                                                                                                      Value of what you own
1.   Schedule A/B: Property (Official Form 106A/B)
                                                                                                                                                                            $400,000.00
     1a. Copy line 55, Total real estate, from Schedule A/B.....................................................................................................................


                                                                                                                                                                       $153,117.06
     1b. Copy line 62, Total personal property, from Schedule A/B......................................................................................................................................................


                                                                                                                                                                            $553,117.06
     1c. Copy line 63, Total of all property on Schedule A/B................................................................................................................................................................


 Part 2:          Summarize Your Liabilities

                                                                                                                                                                        Your liabilities
                                                                                                                                                                        Amount you owe

2.   Schedule D: Creditors Who Have Claims Secured by Property (Official Form 106D)
                                                                                                                                          $462,760.00
     2a. Copy the total you listed in Column A, Amount of claim, at the bottom of the last page of Part 1 of Schedule D.........................

3.   Schedule E/F: Creditors Who Have Unsecured Claims (Official Form 106E/F)
                                                                                                                                                                  $0.00
     3a. Copy the total claims from Part 1 (priority unsecured claims) from line 6e of Schedule E/F.................................................................................


                                                                                                                                    +               $297,586.00
     3b. Copy the total claims from Part 2 (nonpriority unsecured claims) from line 6j of Schedule E/F........................................................



                                                                                                                                   Your total liabilities                         $760,346.00




 Part 3:          Summarize Your Income and Expenses

4.   Schedule I: Your Income (Official Form 106I)
                                                                                                                                                                         $9,032.84
     Copy your combined monthly income from line 12 of Schedule I....................................................................................................................................................

5.   Schedule J: Your Expenses (Official Form 106J)
     Copy your monthly expenses from line 22c of Schedule J.........................................................................................................                $10,807.06




Official Form 106Sum                        Summary of Your Assets and Liabilities and Certain Statistical Information                                                                        page 1
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Debtor 1      Jose Antonio Ayala Torres
Debtor 2      Larissa Rivera                                                               Case number (if known)     19-60085-7


 Part 4:        Answer These Questions for Administrative and Statistical Records

6.   Are you filing for bankruptcy under Chapters 7, 11, or 13?

           No. You have nothing to report on this part of the form. Check this box and submit this form to the court with your other schedules.
           Yes

7.   What kind of debt do you have?

           Your debts are primarily consumer debts. Consumer debts are those "incurred by an individual primarily for a personal,
           family, or household purpose." 11 U.S.C. § 101(8). Fill out lines 8-9g for statistical purposes. 28 U.S.C. § 159.
           Your debts are not primarily consumer debts. You have nothing to report on this part of the form. Check this box and submit
           this form to the court with your other schedules.

8.   From the Statement of Your Current Monthly Income: Copy your total current monthly income from
     Official Form 122A-1 Line 11; OR, Form 122B Line 11; OR, Form 122C-1 Line 14.                                                    $16,246.78


9.   Copy the following special categories of claims from Part 4, line 6 of Schedule E/F:

                                                                                                        Total claim

     From Part 4 on Schedule E/F, copy the following:

     9a. Domestic support obligations. (Copy line 6a.)                                                                 $0.00


     9b. Taxes and certain other debts you owe the government. (Copy line 6b.)                                         $0.00


     9c. Claims for death or personal injury while you were intoxicated. (Copy line 6c.)                               $0.00


     9d. Student loans. (Copy line 6f.)                                                                       $185,624.00


     9e. Obligations arising out of a separation agreement or divorce that you did not report as                       $0.00
         priority claims. (Copy line 6g.)

     9f.   Debts to pension or profit-sharing plans, and other similar debts. (Copy line 6h.)       +                  $0.00


     9g. Total.    Add lines 9a through 9f.                                                                   $185,624.00




Official Form 106Sum               Summary of Your Assets and Liabilities and Certain Statistical Information                                page 2
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 Fill in this information to identify your case:
 Debtor 1           Jose                Antonio              Ayala Torres
                    First Name          Middle Name          Last Name

 Debtor 2            Larissa                                 Rivera
 (Spouse, if filing) First Name         Middle Name          Last Name


 United States Bankruptcy Court for the: NORTHERN DISTRICT OF TEXAS

 Case number        19-60085-7                                                                               Check if this is an
 (if known)
                                                                                                             amended filing

Official Form 106Dec
Declaration About an Individual Debtor's Schedules                                                                                     12/15

If two married people are filing together, both are equally responsible for supplying correct information.

You must file this form whenever you file bankruptcy schedules or amended schedules. Making a false statement,
concealing property, or obtaining money or property by fraud in connection with a bankruptcy case can result in fines up to
$250,000, or imprisonment for up to 20 years, or both. 18 U.S.C. §§ 152, 1341, 1519, and 3571.



               Sign Below

    Did you pay or agree to pay someone who is NOT an attorney to help you fill out bankruptcy forms?

          No

          Yes. Name of person                                                                Attach Bankruptcy Petition Preparer's Notice,
                                                                                             Declaration, and Signature (Official Form 119).




    Under penalty of perjury, I declare that I have read the summary and schedules filed with this declaration and that they are
    true and correct.



    X /s/ Jose Antonio Ayala Torres                         X /s/ Larissa Rivera
        Jose Antonio Ayala Torres, Debtor 1                    Larissa Rivera, Debtor 2

        Date                                                   Date
               MM / DD / YYYY                                         MM / DD / YYYY




Official Form 106Dec                          Declaration About an Individual Debtor's Schedules                                       page 1
